             Case 19-61153-can11                  Doc 1      Filed 09/20/19 Entered 09/20/19 08:53:52                               Desc Main
                                                            Document     Page 1 of 34

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MISSOURI

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                AGC Refining & Filtration, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA Allen Filtration, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3045 E. Elm
                                  Springfield, MO 65802
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Greene                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.agcinternational.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
             Case 19-61153-can11                       Doc 1      Filed 09/20/19 Entered 09/20/19 08:53:52                                     Desc Main
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Debtor    AGC Refining & Filtration, LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




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Debtor   AGC Refining & Filtration, LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    AGC Refining & Filtration, LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 20, 2019
                                                  MM / DD / YYYY


                             X   /s/ Jerome Nichols, President                                            Jerome Nichols, President
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President/Managing Member




18. Signature of attorney    X   /s/ David E. Schroeder                                                    Date September 20, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David E. Schroeder 32724
                                 Printed name

                                 David Schroeder Law Offices, P.C.
                                 Firm name

                                 1524 East Primrose St
                                 Suite A
                                 Springfield, MO 65804
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (417) 890-1000                Email address      bk1@dschroederlaw.com

                                 32724 MO
                                 Bar number and State




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x




                          Action Sales and Rental, Inc.
                          3950 E. Kearney
                          Springfield MO 65803


                          Advanced Fabrication Technologies, Inc.
                          1419 N. Belcrest Ave.
                          Springfield MO 65802


                          AGC International Eurasia, LLC
                          224 N. Euclid
                          Detective Building, Floor 2
                          Pittsburgh PA 15206


                          Alan DeFlorio
                          208 W. Hypericum Lane
                          Greenville SC 29615


                          Allen Filters, Inc.
                          PO Box 747
                          Springfield MO 65801


                          Altus Global Trade Solutions
                          Keith West
                          2400 Veterans Memorial Blvd, Ste 300
                          Kenner LA 70062


                          Arizona Boiler
                          8282 N. 75th Ave.
                          Peoria AZ 85345


                          BN Refining, LLC
                          1850 W. Broadway St, Suite 110
                          Phoenix AZ 85041


                          Boyd Metals
                          1027 Byers Ave.
                          Joplin MO 64802


                          Chromalox, Inc.
                          103 Gamma Dr.
                          Pittsburgh PA 15238


                          Cozen O'Connor
                          277 Park Ave.
                          New York NY 10172
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                      Cozen O'Connor
                      200 S. Biscayne Blvd, Suite 3000
                      Miami FL 33131


                      Crane Electric
                      220 W. Brook
                      Neosho MO 64850


                      Creative Design & Writing, Inc.
                      2476 Overland Rd.
                      Laramie WY 82070-4808


                      DMP Corporation
                      400 Bryant Blvd.
                      Rock Hill SC 29732


                      Don Kleine
                      734 Singing Trails Dr.
                      El Cajon CA 92109


                      Elementa Ecuador Elecueme, S.A.
                      Yaguachi, SL21
                      MZ 207 Calle 21 De
                      Yaguachi, Ecuador


                      Ellis, Ellis, Hammons, & Johnson
                      901 St. Louis St, Suite 500
                      Springfield MO 65806


                      Emanuel Quinn
                      6, ru Lamennais
                      Paris, France 75008


                      Endress & Hauser
                      2350 Endress Place
                      Greenwood IN 46143


                      Enviem Holdings, BV
                      Amperesteraat 5
                      Harderwijk, NL 3846 AN Holland


                      Evans & Green, LLP
                      Jacqueline Elkin
                      1615 S. Ingram Mill Rd, Bldg. F
                      Springfield MO 65808
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                      Evans & Green, LLP
                      Brent Green
                      1615 S. Ingram Mill Rd, Bldg. F
                      Springfield MO 65808


                      Fair Links
                      42, Avenue Montaigne
                      Paris, France 75008


                      Hawthorn Bank
                      PO Box 1845
                      Jefferson City MO 65102


                      Hawthorn Bank - SBA
                      PO Box 1845
                      Jefferson City MO 65102


                      Hunt Enterprises, LLC
                      3942 W. Greenwood
                      Springfield MO 65807


                      Hunt Enterprises, LLC
                      c/o J. Craig Preston
                      O'Reilly & Preston, LLC
                      4045 E. Sunshine St.
                      Springfield MO 65809


                      Husch Blackwell
                      Bryan O'Wade
                      901 St. Louis St, Suite 1800
                      Springfield MO 65806


                      IceFire Limited
                      PO Box 55 111, Eastridge
                      Auckland, NZ 1146


                      Internal Revenue Service
                      PO Box 87
                      CAWR/FUTA
                      Memphis TN 38101


                      James Preston
                      4045 E. Sunshine, Suite 210
                      Springfield MO 65809
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                      JaxFil Co
                      6428 GA-219
                      Franklin GA 30217


                      JCI
                      1161 SE Hamblen Rd.
                      Lees Summit MO 64081


                      Jennings Strouss
                      Gerald Alston
                      1 E. Washington St, Suite 1900
                      Phoenix AZ 85004


                      Jerome & Carla Nichols Jnt. Revoc. Trus
                      2420 E. Southernview
                      Ozark MO 65721


                      Jerome Nichols
                      2420 E. Southernview
                      Ozark MO 65721


                      Jerome Nichols
                      2420 E. Southenview
                      Ozark MO 65721


                      KarlMax Consultants Limited
                      37 Prince Georges Avenue
                      West Wimbledon, London SW20 8BQ England


                      Katherine Allen
                      2602 S. Marian
                      Springfield MO 65804


                      Law Office of Grant Johnson
                      Grant Johnson
                      3645 S. Culpepper Circle
                      Springfield MO 65804


                      Lee Viorel
                      Lowther Johnson, LLC
                      901 E. St. Louis, 20th Floor
                      Springfield MO 65806
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                      MO Assoc. of Mfrs. Hlth. Source, Inc.
                      1335E. Republic Rd. K
                      Springfield MO 65804


                      Newcomb Spring Corp.
                      9300 Spring Hill Dr.
                      Ooltewah TN 37363


                      Ollis/Akers/Arney
                      2274 E. Sunshine St.
                      Springfield MO 65804-1819


                      Oscar Lawrence Bennett
                      Orionweg Kaya A 5A
                      PO Box 4550
                      Zeelandia, CUW


                      Products Plus, Inc.
                      5225 N. 23rd St.
                      Ozark MO 65721


                      Randy Jeffries
                      2425 E. Camelback Rd, Suite 850
                      Phoenix AZ 85016


                      Sandler, Travis, Rosenberg, P.A.
                      1000 NW 57th Court, Suite 600
                      Miami FL 33126


                      Southern Supply Company (SMC)
                      509 N. Washington
                      Springfield MO 65806


                      The Hartford Steam Boiler Ins. Co.
                      PO Box 73720
                      Chicago IL 60673-3720


                      United Scale
                      25185 Kafir Rd.
                      Webb City MO 64870


                      WNF Law P.L.
                      Carlos Nunez
                      1111 Bricell Ave, Suite 2200
                      Miami FL 33131
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                                                               United States Bankruptcy Court
                                                                      Western District of Missouri
 In re      AGC Refining & Filtration, LLC                                                                Case No.
                                                                                    Debtor(s)             Chapter    11



                                                       VERIFICATION OF MAILING MATRIX
                        The above-named Debtor(s) hereby verifies that the attached list of creditors is

            true and correct to the best of my knowledge and includes the name and address of my

            ex-spouse (if any).




 Date:       September 20, 2019                                          /s/ Jerome Nichols, President
                                                                         Jerome Nichols, President/President/Managing Member
                                                                         Signer/Title




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 Fill in this information to identify the case:

 Debtor name         AGC Refining & Filtration, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 20, 2019                      X /s/ Jerome Nichols, President
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jerome Nichols, President
                                                                       Printed name

                                                                       President/Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name AGC Refining & Filtration, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF MISSOURI                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AGC International                                               Commissions            Disputed                                                                        $101,536.53
 Eurasia, LLC
 224 N. Euclid
 Detective Building,
 Floor 2
 Pittsburgh, PA
 15206
 Alan DeFlorio                                                   Operating Loan                                                                                         $270,000.00
 208 W. Hypericum
 Lane
 Greenville, SC 29615
 Allen Filters, Inc.                                             Operating Loan                                                                                           $53,213.00
 PO Box 747
 Springfield, MO
 65801
 Arizona Boiler                                                  Vendor                 Disputed                                                                          $99,419.25
 8282 N. 75th Ave.
 Peoria, AZ 85345
 Boyd Metals                                                     Vendor                 Contingent                                                                        $30,386.00
 1027 Byers Ave.                                                                        Disputed
 Joplin, MO 64802                                                                       Subject to
                                                                                        Setoff
 Cozen O'Connor                                                  Legal Services         Disputed                                                                          $36,959.60
 200 S. Biscayne
 Blvd, Suite 3000
 Miami, FL 33131
 DMP Corporation                                                 Vendor                 Contingent                                                                      $134,685.00
 400 Bryant Blvd.                                                                       Disputed
 Rock Hill, SC 29732
 Elementa Ecuador                                                Arbitration                                                                                          $1,531,366.92
 Elecueme, S.A.                                                  Judgment
 Yaguachi, SL21
 MZ 207 Calle 21 De
 Yaguachi, Ecuador
 Emanuel Quinn                                                   Legal Services         Disputed                                                                        $110,000.00
 6, ru Lamennais
 Paris, France 75008


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    AGC Refining & Filtration, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Enviem Holdings,                                                Sales                  Contingent                                                                    $2,179,500.00
 BV                                                              Development            Disputed
 Amperesteraat 5                                                                        Subject to
 Harderwijk, NL 3846                                                                    Setoff
 AN Holland
 Fair Links                                                      Consulting             Disputed                                                                          $30,000.00
 42, Avenue
 Montaigne
 Paris, France 75008
 IceFire Limited                                                 Contract               Disputed                                                                      $1,500,000.00
 PO Box 55 111,                                                  Settlement
 Eastridge
 Auckland, NZ 1146
 JaxFil Co                                                       Operating Loan                                                                                           $55,000.00
 6428 GA-219
 Franklin, GA 30217
 Jerome Nichols                                                  Shareholder Loan                                                                                         $35,000.00
 2420 E.
 Southernview
 Ozark, MO 65721
 KarlMax                                                         Consulting                                                                                               $26,215.03
 Consultants Limited
 37 Prince Georges
 Avenue
 West Wimbledon,
 London SW20 8BQ
 England
 MO Assoc. of Mfrs.                                              Health Insurance       Disputed                                                                          $79,296.74
 Hlth. Source, Inc.                                              Audit
 1335E. Republic Rd.
 K
 Springfield, MO
 65804
 Oscar Lawrence                                                  Operating Loan                                                                                           $55,000.00
 Bennett
 Orionweg Kaya A
 5A
 PO Box 4550
 Zeelandia, CUW
 Products Plus, Inc.                                             Legal Settlement       Contingent                                                                      $175,000.00
 5225 N. 23rd St.                                                                       Disputed
 Ozark, MO 65721                                                                        Subject to
                                                                                        Setoff
 Sandler, Travis,                                                Legal Services         Disputed                                                                        $100,000.00
 Rosenberg, P.A.
 1000 NW 57th Court,
 Suite 600
 Miami, FL 33126
 Southern Supply                                                 Vendor                 Disputed                                                                        $196,133.15
 Company (SMC)
 509 N. Washington
 Springfield, MO
 65806

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    AGC Refining & Filtration, LLC                                                                    Case number (if known)
           Name




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                 page 3

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                                                               United States Bankruptcy Court
                                                                      Western District of Missouri
 In re      AGC Refining & Filtration, LLC                                                                            Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Jerome Nichols, President                                                            100%                                       Membership Interest
 3045 E. Elm
 Springfield, MO 65802


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President/Managing Member of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date September 20, 2019                                                     Signature /s/ Jerome Nichols, President
                                                                                            Jerome Nichols, President

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                  Document      Page 16 of 34
 Fill in this information to identify the case:

 Debtor name            AGC Refining & Filtration, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           619,766.80

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           619,766.80


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           456,634.10


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            19,572.06

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        6,951,753.79


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           7,427,959.95




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
           Case 19-61153-can11                          Doc 1          Filed 09/20/19 Entered 09/20/19 08:53:52           Desc Main
                                                                     Document      Page 17 of 34
 Fill in this information to identify the case:

 Debtor name         AGC Refining & Filtration, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                     Current value of
                                                                                                                         debtor's interest

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Great Southern Bank
           7.1.     Customer Deposit                                                                                                     $500.00



                    Great Southern Bank
           7.2.     Business Operating Account                                                                                        $14,755.29



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                       $15,255.29
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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 Debtor         AGC Refining & Filtration, LLC                                                        Case number (If known)
                Name


           11a. 90 days old or less:                            137,150.00      -                                    0.00 = ....                $137,150.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                 $137,150.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used   Current value of
                                                      physical inventory            debtor's interest          for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials
           Parts Inventory
           (50% Proprietary)                                                                  $61,889.82                                         $11,000.00


           100% Proprietary; Only
           value as scrap
           $2,250.00; 15 tons at
           $150 per ton                                                                             $0.00      Market                              $2,250.00



 20.       Work in progress
           Fabricated Steel
           (100% Proprietary; Only
           value is scrap)                                                                $1,350,677.00                                         $414,011.51



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                 $427,261.51
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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                Name



 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Soda machine, Refrigerator, Couch,
           Conference Table/Chairs, Cradenza,
           Computers, Office Charis, Desks, Book Case,
           Lateral Files, Computer Server, Tool Chest                                       $0.00                                        $2,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $2,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                Name



 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Welding Turn
            (Custom Application)                                                            $0.00                                $100.00


            Welders
            (5 Year Depreciation)                                                       $3,000.00                              $3,000.00


            Band Saw
            (5 Year Depreciation)                                                           $0.00                                $500.00


            Paint Booth
            (7 Year Depreciation)                                                       $7,000.00                              $7,000.00


            Quincy Air Compressor
            (5 Year Depreciation)                                                       $8,580.00                              $7,000.00


            Plasma Assembly
            (5 Year Depreciation)                                                       $6,400.00                              $7,000.00


            2013 Toyota Forklift                                                      $12,500.00                             $12,500.00



 51.        Total of Part 8.                                                                                              $37,100.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                      page 4
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                Name



                                                                                                                                      Current value of
                                                                                                                                      debtor's interest


 71.       Notes receivable
           Description (include name of obligor)
                                                                                 1,000.00 -                                  0.00 =
           Miscellaneous hand tools                                     Total face amount     doubtful or uncollectible amount                    $1,000.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                   $1,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 5
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $15,255.29

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $137,150.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $427,261.51

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $37,100.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                    $1,000.00

 91. Total. Add lines 80 through 90 for each column                                                            $619,766.80           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $619,766.80




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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 Fill in this information to identify the case:

 Debtor name         AGC Refining & Filtration, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Hawthorn Bank                                  Describe debtor's property that is subject to a lien                 $106,307.48               $427,261.51
       Creditor's Name                                Business Assets
       PO Box 1845
       Jefferson City, MO 65102
       Creditor's mailing address                     Describe the lien
                                                      Commercial Security Interest
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0493
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Hawthorn Bank - SBA                            Describe debtor's property that is subject to a lien                 $350,326.62               $427,261.51
       Creditor's Name                                Business Assets
       PO Box 1845
       Jefferson City, MO 65102
       Creditor's mailing address                     Describe the lien
                                                      Commercial Security Interest
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1534
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       AGC Refining & Filtration, LLC                                                     Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $456,634.10

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Lee Viorel
        Lowther Johnson, LLC                                                                              Line   2.2
        901 E. St. Louis, 20th Floor
        Springfield, MO 65806

        Lee Viorel
        Lowther Johnson, LLC                                                                              Line   2.1
        901 E. St. Louis, 20th Floor
        Springfield, MO 65806




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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           Case 19-61153-can11                          Doc 1          Filed 09/20/19 Entered 09/20/19 08:53:52                                              Desc Main
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 Fill in this information to identify the case:

 Debtor name         AGC Refining & Filtration, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $19,572.06         $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 87                                                    Contingent
           CAWR/FUTA                                                    Unliquidated
           Memphis, TN 38101
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Withholding Taxes

           Last 4 digits of account number 1568                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $5,500.00
           Advanced Fabrication Technologies, Inc.                                     Contingent
           1419 N. Belcrest Ave.                                                       Unliquidated
           Springfield, MO 65802
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Vendor
           Last 4 digits of account number      4045
                                                                                   Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 $101,536.53
           AGC International Eurasia, LLC                                              Contingent
           224 N. Euclid                                                               Unliquidated
           Detective Building, Floor 2
                                                                                       Disputed
           Pittsburgh, PA 15206
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Commissions
           Last 4 digits of account number      1568                               Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 1 of 7
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 Debtor       AGC Refining & Filtration, LLC                                                          Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $270,000.00
          Alan DeFlorio                                                         Contingent
          208 W. Hypericum Lane                                                 Unliquidated
          Greenville, SC 29615                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Operating Loan
          Last 4 digits of account number       1568
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,213.00
          Allen Filters, Inc.                                                   Contingent
          PO Box 747                                                            Unliquidated
          Springfield, MO 65801                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Operating Loan
          Last 4 digits of account number       1568
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $99,419.25
          Arizona Boiler                                                        Contingent
          8282 N. 75th Ave.                                                     Unliquidated
          Peoria, AZ 85345
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       2844
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          BN Refining, LLC                                                      Contingent
          1850 W. Broadway St, Suite 110
                                                                                Unliquidated
          Phoenix, AZ 85041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number       6014                         Basis for the claim:    Equipment Lease
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,386.00
          Boyd Metals                                                           Contingent
          1027 Byers Ave.                                                       Unliquidated
          Joplin, MO 64802
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       4575
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,985.42
          Chromalox, Inc.                                                       Contingent
          103 Gamma Dr.                                                         Unliquidated
          Pittsburgh, PA 15238                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       4317
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,205.00
          Cozen O'Connor                                                        Contingent
          277 Park Ave.                                                         Unliquidated
          New York, NY 10172                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number       3087
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 7
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              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,959.60
          Cozen O'Connor                                                        Contingent
          200 S. Biscayne Blvd, Suite 3000                                      Unliquidated
          Miami, FL 33131
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number       6944
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,386.00
          Crane Electric                                                        Contingent
          220 W. Brook                                                          Unliquidated
          Neosho, MO 64850
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,462.50
          Creative Design & Writing, Inc.                                       Contingent
          2476 Overland Rd.                                                     Unliquidated
          Laramie, WY 82070-4808                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consulting
          Last 4 digits of account number       0792
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $134,685.00
          DMP Corporation                                                       Contingent
          400 Bryant Blvd.                                                      Unliquidated
          Rock Hill, SC 29732
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,000.00
          Don Kleine                                                            Contingent
          734 Singing Trails Dr.                                                Unliquidated
          El Cajon, CA 92109
                                                                                Disputed
          Date(s) debt was incurred 1568
                                                                             Basis for the claim:    Customer Deposit
          Last 4 digits of account number       1568
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,531,366.92
          Elementa Ecuador Elecueme, S.A.                                       Contingent
          Yaguachi, SL21                                                        Unliquidated
          MZ 207 Calle 21 De                                                    Disputed
          Yaguachi, Ecuador
                                                                             Basis for the claim:    Arbitration Judgment
          Date(s) debt was incurred
          Last 4 digits of account number       1568                         Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,599.50
          Ellis, Ellis, Hammons, & Johnson                                      Contingent
          901 St. Louis St, Suite 500                                           Unliquidated
          Springfield, MO 65806                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number       3374
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 7
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 Debtor       AGC Refining & Filtration, LLC                                                          Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $110,000.00
          Emanuel Quinn                                                         Contingent
          6, ru Lamennais                                                       Unliquidated
          Paris, France 75008
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number       1843
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,478.85
          Endress & Hauser                                                      Contingent
          2350 Endress Place                                                    Unliquidated
          Greenwood, IN 46143
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       6585
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,179,500.00
          Enviem Holdings, BV                                                   Contingent
          Amperesteraat 5                                                       Unliquidated
          Harderwijk, NL 3846 AN Holland
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Sales Development
          Last 4 digits of account number       AGCNL
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Fair Links                                                            Contingent
          42, Avenue Montaigne                                                  Unliquidated
          Paris, France 75008
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consulting
          Last 4 digits of account number       AGC
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,625.35
          Hunt Enterprises, LLC                                                 Contingent
          3942 W. Greenwood                                                     Unliquidated
          Springfield, MO 65807                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number       3045
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,500,000.00
          IceFire Limited                                                       Contingent
          PO Box 55 111, Eastridge                                              Unliquidated
          Auckland, NZ 1146
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contract Settlement
          Last 4 digits of account number       1568
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,000.00
          JaxFil Co                                                             Contingent
          6428 GA-219                                                           Unliquidated
          Franklin, GA 30217                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Operating Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 7
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              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,501.52
          JCI                                                                   Contingent
          1161 SE Hamblen Rd.                                                   Unliquidated
          Lees Summit, MO 64081
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       1895
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Jerome Nichols                                                        Contingent
          2420 E. Southernview                                                  Unliquidated
          Ozark, MO 65721                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shareholder Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,215.03
          KarlMax Consultants Limited                                           Contingent
          37 Prince Georges Avenue                                              Unliquidated
          West Wimbledon, London SW20 8BQ                                       Disputed
          England
                                                                             Basis for the claim:    Consulting
          Date(s) debt was incurred
          Last 4 digits of account number       1758                         Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,675.00
          Katherine Allen                                                       Contingent
          2602 S. Marian                                                        Unliquidated
          Springfield, MO 65804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Operating Loan
          Last 4 digits of account number       1568
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $79,296.74
          MO Assoc. of Mfrs. Hlth. Source, Inc.                                 Contingent
          1335E. Republic Rd. K                                                 Unliquidated
          Springfield, MO 65804
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Health Insurance Audit
          Last 4 digits of account number       0229
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $806.69
          Newcomb Spring Corp.                                                  Contingent
          9300 Spring Hill Dr.                                                  Unliquidated
          Ooltewah, TN 37363                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       6491
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,295.74
          Ollis/Akers/Arney                                                     Contingent
          2274 E. Sunshine St.                                                  Unliquidated
          Springfield, MO 65804-1819                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance Premium
          Last 4 digits of account number       9247
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.31      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $55,000.00
           Oscar Lawrence Bennett                                               Contingent
           Orionweg Kaya A 5A                                                   Unliquidated
           PO Box 4550                                                          Disputed
           Zeelandia, CUW
                                                                             Basis for the claim:    Operating Loan
           Date(s) debt was incurred
           Last 4 digits of account number      1568                         Is the claim subject to offset?     No       Yes


 3.32      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $175,000.00
           Products Plus, Inc.                                                  Contingent
           5225 N. 23rd St.                                                     Unliquidated
           Ozark, MO 65721
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Settlement
           Last 4 digits of account number      1568
                                                                             Is the claim subject to offset?     No       Yes

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $100,000.00
           Sandler, Travis, Rosenberg, P.A.                                     Contingent
           1000 NW 57th Court, Suite 600                                        Unliquidated
           Miami, FL 33126
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services
           Last 4 digits of account number      6693
                                                                             Is the claim subject to offset?     No       Yes

 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $196,133.15
           Southern Supply Company (SMC)                                        Contingent
           509 N. Washington                                                    Unliquidated
           Springfield, MO 65806
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number      0104
                                                                             Is the claim subject to offset?     No       Yes

 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $741.00
           The Hartford Steam Boiler Ins. Co.                                   Contingent
           PO Box 73720                                                         Unliquidated
           Chicago, IL 60673-3720                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Consulting
           Last 4 digits of account number      0285
                                                                             Is the claim subject to offset?     No       Yes

 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $14,780.00
           United Scale                                                         Contingent
           25185 Kafir Rd.                                                      Unliquidated
           Webb City, MO 64870                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 7
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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1       Altus Global Trade Solutions
           Keith West                                                                            Line     3.18
           2400 Veterans Memorial Blvd, Ste 300
                                                                                                        Not listed. Explain
           Kenner, LA 70062

 4.2       Evans & Green, LLP
           Jacqueline Elkin                                                                      Line     3.8
           1615 S. Ingram Mill Rd, Bldg. F
                                                                                                        Not listed. Explain
           Springfield, MO 65808

 4.3       Evans & Green, LLP
           Brent Green                                                                           Line     3.28
           1615 S. Ingram Mill Rd, Bldg. F
                                                                                                        Not listed. Explain
           Springfield, MO 65808

 4.4       Husch Blackwell
           Bryan O'Wade                                                                          Line     3.32
           901 St. Louis St, Suite 1800
                                                                                                        Not listed. Explain
           Springfield, MO 65806

 4.5       James Preston
           4045 E. Sunshine, Suite 210                                                           Line     3.21
           Springfield, MO 65809
                                                                                                        Not listed. Explain

 4.6       Jennings Strouss
           Gerald Alston                                                                         Line     3.5
           1 E. Washington St, Suite 1900
                                                                                                        Not listed. Explain
           Phoenix, AZ 85004

 4.7       Law Office of Grant Johnson
           Grant Johnson                                                                         Line     3.34
           3645 S. Culpepper Circle
                                                                                                        Not listed. Explain
           Springfield, MO 65804

 4.8       Randy Jeffries
           2425 E. Camelback Rd, Suite 850                                                       Line     3.6
           Phoenix, AZ 85016
                                                                                                        Not listed. Explain

 4.9       WNF Law P.L.
           Carlos Nunez                                                                          Line     3.15
           1111 Bricell Ave, Suite 2200
                                                                                                        Not listed. Explain
           Miami, FL 33131


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                     19,572.06
 5b. Total claims from Part 2                                                                       5b.    +     $                  6,951,753.79

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    6,971,325.85




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         AGC Refining & Filtration, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1.        State what the contract or                   Storage of two trailers
             lease is for and the nature of               (53' each) at $94.00 per
             the debtor's interest                        month.

                  State the term remaining
                                                                                         Action Sales and Rental, Inc.
             List the contract number of any                                             3950 E. Kearney
                   government contract                                                   Springfield, MO 65803


 2.2.        State what the contract or                   Lease business
             lease is for and the nature of               facilities at 3045 E. Elm,
             the debtor's interest                        Springfield, MO
                                                                                         Hunt Enterprises, LLC
                  State the term remaining                2 years                        c/o J. Craig Preston
                                                                                         O'Reilly & Preston, LLC
             List the contract number of any                                             4045 E. Sunshine St.
                   government contract                                                   Springfield, MO 65809




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         AGC Refining & Filtration, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Jerome & Carla                    2420 E. Southernview                               Hawthorn Bank                     D   2.1
             Nichols Jnt.                      Ozark, MO 65721                                                                      E/F
             Revoc. Trus
                                                                                                                                    G




    2.2      Jerome & Carla                    2420 E. Southernview                               Hawthorn Bank -                   D   2.2
             Nichols Jnt.                      Ozark, MO 65721                                    SBA                               E/F
             Revoc. Trus
                                                                                                                                    G




    2.3      Jerome Nichols                    2420 E. Southenview                                Hawthorn Bank                     D   2.1
                                               Ozark, MO 65721                                                                      E/F
                                                                                                                                    G




    2.4      Jerome Nichols                    2420 E. Southenview                                Hawthorn Bank -                   D   2.2
                                               Ozark, MO 65721                                    SBA                               E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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                                                               United States Bankruptcy Court
                                                                      Western District of Missouri
 In re      AGC Refining & Filtration, LLC                                                                 Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for AGC Refining & Filtration, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 20, 2019                                                    /s/ David E. Schroeder
 Date                                                                  David E. Schroeder 32724
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for AGC Refining & Filtration, LLC
                                                                       David Schroeder Law Offices, P.C.
                                                                       1524 East Primrose St
                                                                       Suite A
                                                                       Springfield, MO 65804
                                                                       (417) 890-1000 Fax:(417) 886-8563
                                                                       bk1@dschroederlaw.com




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